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     Cameron, Adair, Chuey, Goodrich, Freeman,
 9   Thomas, Orr, Brown, and Cost
10
                            UNITED STATES DISTRICT COURT
11
                                   DISTRICT OF ARIZONA
12
13   Christopher Gagne in his capacity as the          NO. 2:24-cv-01337-SHD
     Personal Representative of the Estate of
14   Shawn Taylor Gagne; Christopher and
     Suzette Gagne, husband and wife, as the          DEFENDANTS’ NOTICE OF
15   surviving parents of decedent Shawn Gagne,       ASSOCIATION OF COUNSEL
                                                      WITHIN FIRM
16                       Plaintiffs,

17   vs.

18   City of Mesa, a political subdivision of the
     State of Arizona; Kevin Cost, Chief of Mesa
19   Police Department, individually and in his
     official capacity; Matthew Harris, in his
20   individual capacity and in his capacity as a
     police officer; Kyle Thomas, in his
21   individual capacity and in his capacity as a
     police officer; Shawn Freeman, in his
22   individual capacity and in his capacity as a
     police officer; Matt Brown, in his individual
23   capacity and in his capacity as a police
     officer; Kyle Cameron, in his individual
24   capacity and in his capacity as a police
     officer; Matthew Chuey, in his individual
25   capacity and in his capacity as a police
     officer; Robert Goodrich, in his individual
26   capacity and in his capacity as a police
     officer; Alejandro Navarro, in his individual
27   capacity and in his capacity as a police
     officer; Matthew Adair, in his individual
28   capacity and in his capacity as a police
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 1    officer; Christopher Orr, in his individual
      capacity and in his capacity as a police
 2    officer; ABC Partnerships I-X; XYZ
      Corporations I-X; John Does I-X and Jane
 3    Does I-X,
                           Defendants.
 4
 5         Defendants Harris, Navarro, Cameron, Adair, Chuey, Goodrich, Freeman, Thomas,

 6   Orr, Brown, and Cost give notice that Rebekah K. Browder is associating with Kathleen L.

 7   Wieneke, Christina Retts, and Garrett Griggs of Wieneke Law Group, PLC as counsel of

 8   record on Defendants’ behalf.

 9
10
11         DATED this 20th day of February, 2025.

12                                             WIENEKE LAW GROUP, PLC

13                                      By:    /s/ Rebekah K. Browder
                                               Kathleen L. Wieneke
14                                             Christina Retts
                                               Garrett Griggs
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16                                             1225 West Washington Street, Suite 313
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17                                             Attorneys for Defendants Harris, Navarro,
18                                             Cameron, Adair, Chuey, Goodrich, Freeman,
                                               Thomas, Orr, Brown, and Cost
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 1                               CERTIFICATE OF SERVICE
 2         I hereby certify that on February 20, 2025, I electronically transmitted the attached
 3   document to the Clerk's Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the following CM/ECF registrants:
 5         Zachary Mushkatel
           Jordan A. Brunner
 6         MUSHKATEL, ROBBINS & BECKER, PLLC
 7         15249 North 99th Avenue
           Sun City, Arizona 85351-1964
 8         Attorneys for Plaintiffs
 9         I hereby certify that on this same date, I served the attached document by U.S. Mail,
10   postage prepaid, on the following, who is not a registered participant of the CM/ECF
11   System:
12         N/A
13
                                              By:        /s/ Lauren Rasmussen
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